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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1197V
                                          UNPUBLISHED


    SUSAN MOGAVERO,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: September 16, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Theodore J. Hong, Maglio Christopher & Toale, PA, Seattle, WA, for petitioner.

Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On August 13, 2018, Susan Mogavero filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine received on September
23, 2016. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

      On June 9, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On September 16, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating that Petitioner should be awarded $110,451.33
(comprising $110,000.00 for pain and suffering and $451.33 for past out of pocket medical
expenses). Proffer at 1-2. In the Proffer, Respondent represented that Petitioner agrees

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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with the proffered award. Id. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $110,451.33 (comprising $110,000.00 for pain and suffering and
$451.33 for past out of pocket medical expenses) in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

*************************************
SUSAN MOGAVERO,                     *
                                    *
                  Petitioner,       *                        No. 18-1197V
                                    *                        CHIEF SPECIAL MASTER CORCORAN
v.                                  *
                                    *
SECRETARY OF HEALTH AND             *
HUMAN SERVICES,                     *
                                    *
                  Respondent.       *
*************************************

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On June 9, 2020, respondent filed a Rule 4(c) Report, conceding that petitioner’s claim

meets the Table criteria for a Shoulder Injury Related to Vaccine Administration (“SIRVA”)

injury. On that same day, the Court issued a Ruling on Entitlement finding petitioner entitled to

compensation under the Vaccine Act.

I.       Items of Compensation

         Based upon the evidence of record, respondent proffers that petitioner should be awarded

the following, and requests that the Chief Special Master’s decision and the Court’s judgment

award:

         1. A lump sum payment of $110,000.00, which represents compensation for pain and
            suffering, see 42 U.S.C. § 300aa-15(a)(4); and

         2. A payment of $451.33, which represents compensation for past out-of-pocket medical
            expenses, see 42 U.S.C. § 300aa-15(a)(1).
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       These amounts represent all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a).1 Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that petitioner be awarded a lump sum payment of $110,451.33, in the

form of a check payable to petitioner. Petitioner agrees.

                                                      Respectfully submitted,

                                                      JEFFREY BOSSERT CLARK
                                                      Acting Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      CATHARINE E. REEVES
                                                      Deputy Director
                                                      Torts Branch, Civil Division

                                                      DARRYL R. WISHARD
                                                      Assistant Director
                                                      Torts Branch, Civil Division

                                                      /s/ DEBRA A. FILTEAU BEGLEY
                                                      DEBRA A. FILTEAU BEGLEY
                                                      Senior Trial Attorney
                                                      Torts Branch, Civil Division
                                                      U.S. Department of Justice
                                                      P.O. Box 146
                                                      Benjamin Franklin Station
                                                      Washington, D.C. 20044-0146
                                                      Phone: (202) 616-4181
Dated: September 16, 2020




1
  Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future pain
and suffering.
                                                 2
